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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE NORTHERN DISTRICT OF OHIO
                                  EASTERN DIVISION

                                                    )
 ADAM DROR, et al.,                                 )   CASE NO. 1:22-cv-02183
                                                    )
          Plaintiffs,                               )   JUDGE PAMELA A. BARKER
                                                    )
          -vs-                                      )
                                                    )
 GEORGE NAKHLE, et al.,                             )
                                                    )
          Defendants.                               )


                            MOTION TO DISMISS PLAINTIFFS’
                             FIRST AMENDED COMPLAINT


         Pursuant to Fed. R. Civ. P. 12(b)(6), Defendants George Nakhle (“George Nakhle”); Samir

Nakhle (“Samir Nakhle” and together with George Nakhle, the “Nakhles”); Richard Russel

Gutzky (“Gutzky”); GS & M LLC (“GS & M”); Nadam LLC (“Nadam”); RG Holdings Delaware,

LLC (“RG Delaware”); RG Holdings Perm, LLC (“RG Perm”); RG Holdings Perm II, LLC (“RG

Perm II”); RSN Holdings I, LLC (“RSN I”); RSN Holdings II, LLC (“RSN II”); RSN Holdings

4, LLC (“RSN 4”); RSN Holdings XV, LLC (“RSN XV”); RSN Holdings XXI, LLC (“RSN

XXI”); RSN Holdings Delaware, LLC (“RSN Delaware”); R.S.N. Properties LLC (“RSN

Properties”); United Synergy Group, LLC (“United Synergy”); 6395 Pearl Road LLC (“Pearl

Road”); and Park Knoll, LLC (“Park Knoll”) (collectively, the “Movants”), by and through

counsel, respectfully request that this Court dismiss Plaintiffs Dror Adam (“Adam”); Adam Beres

LLC a/k/a Adam Beres One LLC (“ABO”); Beres Adam One LLC (“BAO”); D. Mody Properties,

Ltd. (“D. Mody”); RSN Finance, LLC (“RSN Finance”); Shnizel OH LLC (“Shnizel”); Zuk

Domestic Holdings, Inc. (“Zuk”); and Zuk Marble Products, Ltd.’s (“Zuk Marble”) (collectively,


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the “Plaintiffs”) First Amended Complaint (ECF # 10) (the “Federal Complaint”) as to all counts

alleged against Movants. First and foremost, Plaintiffs were compelled under the Ohio procedural

rules to bring their claims in pending state court litigation involving the same set of transactions,

overlapping parties, and common legal issues, and thus, this Court is now barred from adjudicating

this dispute. Indeed, this District has already determined that this matter is best suited for the

Cuyahoga County Court of Common Pleas (the “CCCCP”), which has been overseeing the dispute

among Plaintiffs and Movants for nearly three years.1 The Court should not condone Plaintiffs’

clear attempt to forum shop their compulsory claims, which they were required to bring in the

CCCP cases, and now should be deemed waived due to their own actions. Additionally, Plaintiffs

fail to state cognizable claims for violations of the Racketeer Influenced and Corrupt Organizations

Act (the “RICO Act”), fraud, restitution under the faithless servant doctrine, and piercing the

corporate veil. In short:

                 Plaintiffs waived their right to bring their claims in this forum and cannot be
                  allowed to continue to forum shop their compulsory claims, which they brought
                  and dismissed multiple times in the pending CCCCP cases and this District, and as
                  a result, now must be dismissed, with prejudice;

                 Plaintiffs did not—and cannot—allege that Movants created a scheme with an
                  intent to conduct racketeering activity as required under the RICO Act or other
                  required specificity to withstand a motion to dismiss the RICO Act claim and fraud
                  claims; and

                 Not only are piercing the corporate veil and the faithless servant doctrine not stand-
                  alone claims, but also Plaintiffs lack requisite standing to bring a derivative claim
                  or the assigned claims of the Investors or Bavaria.2




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  On March 16, 2022, the Honorable Judge Dan Aaron Polster determined that the Cuyahoga County Court of
Common Pleas was best suited to decide the dispute between Plaintiffs and Movants. See D. Mody Properties, et al.
vs. R.S.N. Properties, LLC, et al., Case No. 1:21-CV-1395 at ECF # 15, ordering that “[b]ecause the parties should
resolve all of their claims in the same forum, and they have already begun this process in state court, the Court hereby
DISMISSES the captioned case, without prejudice.”
2
  Any capitalized term not herein defined shall take on the same meaning as set forth in Plaintiffs’ First Amended
Complaint (ECF # 10).

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         Accordingly, Movants request that the Court issue an order dismissing the Federal

Complaint as to Movants with prejudice. A Memorandum in Support is attached hereto and

incorporated herein.

                                           Respectfully submitted,

                                           KOHRMAN JACKSON & KRANTZ, LLP

                                           /s/ Scott A. Norcross             _
                                           SCOTT A. NORCROSS (0073407)
                                           NATHAN F. STUDENY (0077864)
                                           PAIGE M. RABATIN (0097916)
                                           ANDREA V. ARNOLD (0099455)
                                           One Cleveland Center, 29th Floor
                                           1375 East Ninth Street
                                           Cleveland, Ohio 44114
                                           Phone: (216) 696-8700
                                           Fax: (216) 621-6536
                                           Email: san@kjk.com; nfs@kjk.com; pmr@kjk.com;
                                           ava@kjk.com
                                           Counsel for Movants




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                                  MEMORANDUM IN SUPPORT
    I.        INTRODUCTION.

         Despite Plaintiffs’ conspiracy-laden Federal Complaint, this matter is a simple and

straightforward tale of contractual real estate transactions not materializing in ways in which the

individuals and entities involved had hoped and intended, creating an ongoing game of finger-

pointing. Here, there is no dispute that Adam and his entities, ABO and BAO, along with Shnizel

(as purported assignee of seventy-eight (78) investors/owners),3 D. Mody, Zuk, and Zuk Marble

voluntarily, willingly, and consciously entered into contractual real estate transactions with

Movants and continued to do so even after—as Plaintiffs admit—initial issues arose in 2017.

         Plaintiffs’ finger pointing began on May 29, 2020, in the CCCCP with the action styled

Adam Beres, LLC aka Adam Beres One, LLC, et al. vs. George Nakhle, et al., Case No. CV-20-

932929 (the “First State Court Case”). Therein, ABO, Zuk, D. Mody, and RSN Finance alleged

claims against George Nakhle, RSN Properties, United Synergy, RG Delaware, RG Perm, RSN

Holdings, Pearl Road, and non-party CoreVest American Finance Lender LLC (“CoreVest”)

related to the operations of and loans made to RSN Finance, i.e. what Plaintiffs deem in their

Federal Complaint as the “JV Fraud.” On June 23, 2020, Plaintiffs Adam, ABO, and BAO initiated

a second action in the CCCCP styled Dror Adam, et al. vs. George Nakhle, et al., Case No. CV-

20-933677 against George Nakhle, RSN Holdings, RSN Delaware, RSN 4, RG Delaware, Nadam,

and CoreVest (the “Second State Court Case”), alleging claims related to financing of the real

estate transactions at issue, i.e. what Plaintiffs deem in their Federal Complaint as the “Loan

Fraud.”

         And on January 15, 2021, yet another action was initiated in the CCCCP styled Shnizel


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  Questionably, Plaintiffs provide no supporting documents with the Complaint that the claimed Investors have
actually assigned their purported claims to Adam.

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Ohio LLC vs. George Nakhle, et al., Case No. CV-21-943024 (the “Third State Court Case” and

with the First State Court Case and the Second State Court Case, the “State Court Cases”)4 wherein

Shnizel alleged claims against the Nakhles, RSN Holdings, GS & M, RSN 4, RG Delaware, RG

Perm, RSN Delaware, RG Perm II, and other parties including CoreVest related to the purchase

and financing of the properties at issue, i.e. what Plaintiffs deem in their Federal Complaint as the

“Property Fraud.”

          In response to the claims in the First State Court Case, George Nakhle, RSN Properties,

United Synergy, RG Delaware, RG Perm, RSN Holdings, and Pearl Road (together, the

“Counterclaimants”) alleged a counterclaim for declaratory judgment related to the ownership of

certain real estate, breach of fiduciary duty, slander of title, and abuse of process (the

“Counterclaims”). Therein, Counterclaimants alleged that Plaintiffs wanted Counterclaimants,

who are United States residents and companies, to hold title to the Properties to more easily obtain

adequate financing. With this, Adam’s scheme to siphon funds away from the Investors was

revealed: Adam was not applying payments to the Land Contracts and instead was diverting funds.

As more fully discussed below, the Counterclaims remain pending and bar Plaintiffs from

litigating the Federal Complaint in not just this Court but any other court besides the CCCCP.

         Rather than litigate all claims arising from the same contractual real estate transactions in

the pending State Court Cases, Plaintiffs first attempted to forum shop by initiating a prior, related

action in this District styled D. Mody Properties, Ltd., et al. vs. R.S.N. Properties, LLC, et al., Case

No. 1:21-CV-01395 (the “First Federal Case”). Therein D. Mody and Zuk Marble brought




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  Notably, the CCCCP consolidated the State Court Cases and Counterclaims into a single action. The CCCCP also
consolidated related foreclosure actions into the case styled Wilmington Trust, National Association vs. RG Holdings
Perm II, LLC, et al., Case No. CV-22-965640 and appointed a receiver to oversee certain of the Properties set forth in
Exhibit 1 of the Federal Complaint. As Plaintiffs admit, the receiver has been appointed for a majority of the Properties
at issue, which has already required Plaintiffs to amend. See Compl. at ¶18.

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contractual claims against RSN Finance and RSN Properties related to financing the transactions

through RSN Finance, i.e. what Plaintiffs deem in their Federal Complaint as the “JV Fraud.” The

Honorable Judge Dan Aaron Polster swiftly and smartly dismissed the First Federal Case without

prejudice in recognition of the pending State Court Cases involving the same parties, transactions,

and occurrences.

          Plaintiffs’ strategic “new” allegations and addition of “new” parties in the Federal

Complaint does not change the fact that, as astutely recognized by Judge Polster, the CCCCP is

best suited to decide the dispute between Movants and Plaintiffs and has been doing so for nearly

three years across two consolidated case tracks. Importantly, seven of the eight Plaintiffs here are

plaintiffs in the State Court Cases with Zuk Marble, an obvious affiliate of Zuk, being the only

federal Plaintiff without a State Court Case against one or more of Movants. Considering the

pending claims of the State Court Cases, each of which involve the same transactions and

occurrences that form the foundation of the Federal Complaint, Plaintiffs were required to bring

and litigate their compulsory claims in the State Court Cases. Since they chose not to do so multiple

times, Plaintiffs have now waived their right to reallege them in this forum. Moreover, Plaintiffs’

claims under the RICO Act (which, again, were required to be brought in the State Court Cases)

and for fraud, piercing the corporate veil, and the faithless servant doctrine do not pass muster

under Fed. R. Civ. P. 12(b)(6). In addition, Plaintiffs have failed to attach requisite information to

the Federal Complaint to support their derivative claim and claims brought on behalf of the

Investors and Bavaria. Accordingly, Plaintiffs’ Federal Complaint should be dismissed, with

prejudice.

    II.       ALLEGED FACTS.

          As conceded in the Federal Complaint, Plaintiffs willingly, voluntarily, and consciously



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did business with Movants for years—even after initial issues arose. Plaintiffs’ allegations—both

old and “new”—depict themselves as disgruntled, hands-off business partners who knowingly

consented to Movants’ management of the various entities and consciously followed the Nakhles

and Gutzky’s guidance with respect to the real estate transactions at issue. These real estate

transactions are the exact same transactions at issue in the CCCCP and therefore constitute the

same transaction or occurrence for purposes of preclusion under Ohio Rule of Civil Procedure

13(A) (“Civ.R. 13(A)”). Further, absent from the Federal Complaint is not only the required

specificity needed to withstand a motion to dismiss but also Adam’s (and his entities) involvement

in the purported tranches.

         A.       The Purported Property Fraud.

         For example, the pseudo anonymous investors/owners, who assigned their claims to

Shnizel (the “Investors”), not only negotiated the sale but also solicited the 192 properties

identified in Exhibit 1 to the Federal Complaint (the “Properties”). As alleged in the Federal

Complaint, the Investors then willingly entered into letter agreements (the “Property LOAs”) with

the Nakhles, consciously negotiated the prices of the Properties, and voluntarily sold the Properties

via the land installment contracts (the “Land Contracts”). Compl. at ¶¶ 66-68. Plaintiffs then admit

the Investors were not keeping a watchful eye over the Properties despite still having an interest.

Instead, the Investors trusted Adam and his entities as well as Movants to manage the Properties,

including repairs and collection of rents, and operate their real estate investments. See, e.g., ¶¶ 66-

68, 86-87.

         As Plaintiffs concede, the parties to the Land Contracts envisioned a five (5) year

fulfillment timeline, meaning that Plaintiffs understood that some or all of Movants’ respective

obligations under the Land Contracts would not be fulfilled as of the dates Plaintiffs not only



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initiated the State Court Cases and First Federal Case but also this action. Compl. at ¶ 69. During

that five-year period, the Investors consciously assigned title of certain Properties to the respective

Movants so additional financing could be obtained to fulfill the obligations under the Land

Contracts. See, e.g., ¶¶ 105-17. Indeed, the Lot One Supplement Agreement and Lot Two

Supplemental Agreement, as well as Plaintiffs’ admission that the Investors negotiated and agreed

to the “conveyance prices,” demonstrate that not only did Movants accurately represent the

material facts enough so that the agreements could be memorialized, but also that Movants were

working towards fulfilling their obligations under the respective Land Contracts. ¶¶ 182-83, 187-

89. Despite Movants’ best efforts, Plaintiffs initiated the State Court Cases, the First Federal Case,

and the instant action.

         B.       The Purported JV Fraud.

         Because the Investors were not interested in the day-to-day management or general upkeep

of the Properties,5 ABO, D. Mody, Zuk, and RSN Properties created RSN Finance to “acquire,

improve, sell and lease real estate, and finance and refinance real estate transactions.” Compl. at ¶

87. Evidencing their agreement, ABO, D. Mody, Zuk, and RSN Properties entered into an

operating agreement, Exhibit 12 of the Federal Complaint.

         Under D. Mody, Zuk, ABO, and RSN Properties’ agreement, D. Mody and Zuk agreed to

commit $1,000,000 each in loans to RSN Finance with ABO providing an additional $1,000,000

loan a year later in 2018. Compl. at ¶¶ 90, 102. However, ABO defaulted on its loan obligation,

and instead, ABO, and by extension Adam, and George Nakhle agreed that the payments due on

the Land Contracts would be paid directly to RSN Finance. Compl. at ¶ 156. As a result, Plaintiffs’




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  Indeed, the Investors’ disinterest extends to the statements they respectively made in the Land Contracts related to
the vacancy and occupancy of certain of the Properties. See, e.g., Compl. at Exh. 13.

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allegations related to payments under the Land Contracts—prior to the Investors’ voluntary

assignments—are intentionally misguided.

         ABO’s failures to perform then absolves RSN Properties of its failures, if any, to fulfill any

obligation under the agreement. Compl. at ¶ 159. Despite the clear legal excuse of RSN Properties’

performance, Plaintiffs allege that RSN Finance’s operating agreement was breached but fail to

acknowledge ABO’s, and by extension Adam’s, breach of the same.

         C. The Purported Nadam and Bavaria MF Fraud.

         The purported Nadam and Bavaria MF Frauds are mere offshoots of the purported JV

Fraud. With respect to the Nadam Fraud, Plaintiffs state that it is “almost identical to the JV Fraud”

and involved creating Nadam to “acquire, manage and sell real estate investment properties, much

the same as RSN Finance, but on a smaller scale and with fewer properties.” Compl. at ¶¶ 5, 119.

Nadam’s first venture was the Byron Property, which Plaintiffs allege was transferred to RG

Delaware in the purported Property Fraud. Compl. at ¶ 123.

         Similar to the purported JV and Nadam Frauds, according to the Federal Complaint, RG

Delaware entered into an agreement with Bavaria whereby RSN I would purchase the multi-

dwelling Bavaria Property from Bavaria. Compl. at ¶¶ 203-05. As Plaintiffs allege, an initial loan

from Adam, which constitutes part of the purported Loan Fraud, was used to purchase the Bavaria

Property. But Plaintiffs allege that George Nakhle, through RSN I, fulfilled only initial portions of

RSN I’s obligations under said loan. Id.

         D. The Purported Loan Fraud.

         As alleged in the Federal Complaint, the purported Loan Fraud is interwoven throughout

the real estate transactions at issue, most notably through the Nadam and Bavaria transactions. The

First Loan consisted of $125,000 to RSN I from BAO, with 9% interest, and with quarterly interest



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payments and payment of principal after two years, November 1, 2019. Compl. at ¶¶ 84-85.

Beyond Plaintiffs’ conclusory statement alleging that George Nakhle had any intent to repay the

First Loan, Plaintiffs fall short of alleging intent with specificity as required under federal pleading

standards for RICO Act or fraud claims. Compl. at ¶¶ 85-86.

         The Second Loan relates to Lot Two and consisted of an $11,000 obligation of RSN I made

in January 2019 by BAO with payment due in February 2019. Compl. at ¶ 195. Again, Plaintiffs

fall short of alleging any actual intent of RSN I to never repay the Second Loan. The Third Loan

relates to the Bavaria Property, and according to the Federal Complaint, it appears that Adam

personally loaned RSN I and George Nakhle $144,000 on April 8, 2019, after the Second Loan.

Compl. at ¶¶ 197-99. The Third Loan was used to purchase the Bavaria Property, and $3,080

monthly interest payments were due on the Third Loan “directly to Adam’s lenders,” which may

have included payments to RSN Finance based on Plaintiffs’ statement that when ABO failed to

fund RSN Finance, Adam and George Nakhle agreed that the proceeds from the Land Contracts

would be paid directly to RSN Finance. Compl. at ¶¶ 156, 199. As Plaintiffs admit, and similar to

the First Loan, RSN I initially fulfilled its obligations under the Third Loan. Compl. at ¶¶ 200-01.

As with Plaintiffs’ allegations about the First Loan and Second Loan, Plaintiffs fall short of

alleging the actual intent to defraud. Indeed, Plaintiffs admit that George Nakhle, through RSN I,

initially fulfilled its obligations under the First Loan and Third Loan.

         E. Plaintiffs’ Fatal Pleading Flaws.

         Notably absent from the Federal Complaint are the precise details of the purported multiple

tranches of fraud that federal law requires Plaintiffs to plead with heightened particularity. Beyond

lacking allegations related to George Nakhle, RSN I, and RG Delaware’s intent with the purported

Loan Fraud, Nadam Fraud, and Bavaria Fraud, ABO’s failure to loan $1,000,000 to RSN Finance,



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which occurred prior to the purported Loan Fraud, lifted RSN Properties from its funding

obligations as to RSN Finance. With the purported Property Fraud, Plaintiffs admit that the

Investors assigned the Land Contracts to Movants to secure additional funding for the Properties.

And yet again, Plaintiffs fall short of demonstrating Movants intent at that time to defraud.

           In addition, Plaintiffs make conclusory statements as to Movants’ use of the mail, internet,

and instrumentalities of interstate commerce to support their RICO Act claims. See, e.g., Compl.

at ¶¶ 92, 108, 116, 129, 143, 151, and 239. Missing from the Federal Complaint are Plaintiffs’

actual allegations of time, place, method, and content of the underlying mail and wire fraud. Also

missing from the Federal Complaint is any verification related to a derivative claim under Fed. R.

Civ. P. 23.1 as well as any evidence of the Investors’ assignment to Shnizel or Bavaria’s

assignment to Adam. Moreover, under Ohio law, piercing the corporate veil and the faithless

servant doctrine are not standalone claims. Accordingly, Plaintiffs fail to meet their heightened

pleading standards as well as necessary elements for derivative actions and assigned claims,

requiring dismissal.

    III.      LAW & ANALYSIS.

           A. Legal Standard for a Motion Made Pursuant to Fed. R. Civ. P. 12(b)(6).

           “To survive a motion to dismiss” under Rule 12(b)(6), a complaint “must contain sufficient

factual matter, accepted as true, to ‘state a claim to relief that is plausible on its face.’” Ashcroft v.

Iqbal, 556 U.S. 662, 678 (2009) (quoting Bell Atl. Corp. v. Twombly, 550 U.S. 544, 570 (2004)).

“A claim has facial plausibility when the plaintiff pleads factual content that allows the court to

draft the reasonable inference that the defendant is liable for the misconduct alleged.” Iqbal, 556

U.S. at 678. “Factual allegations must be enough to raise a right to relief above the speculative

level.” Twombly, 550 U.S. at 555. However, a complaint fails to state a claim for relief where,



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such as here, “it tenders naked assertions devoid of further factual enhancement.” Iqbal, 556 U.S.

at 678.

          Further, while a court must accept all factual allegations as true, this rule does not apply to

legal conclusions. See id. “[T]hough construing the complaint in favor of the non-moving party, a

trial court will not accept conclusions of law or unwarranted inferences cast in the form of factual

allegations.” Duro Corp. v. Canadian Standards Assoc., No. 1:17CV1127, 2017 U.S. Dist. LEXIS

203296, at *3 (N.D. Ohio Dec. 11, 2017). Accordingly, to satisfy federal pleading standards, a

complaint “requires more than labels and conclusions, and a formulaic recitation of the elements

of a cause of action will not do.’” Twombly, 550 U.S. at 555.

          B. Civ.R. 13(A) Precludes Plaintiffs From Litigating This Dispute in Federal Court.

          This Court need not look any further than Hutchinson v. Parent, 773 Fed. Appx. 288 (6th

Cir. 2019), which is on point and controls. Therein, the Sixth Circuit determined that, where a

party’s federal court claims arise from the same transaction and occurrence and are logically

related to an already existing state court action, Civ.R. 13(A) precludes a plaintiff from asserting

the claims in federal court so as to avoid a multiplicity of actions. Id. at 290-93.

              1. Plaintiffs’ claims in the Federal Complaint arise from the same set of
                 transactions and occurrences as the State Court Cases and are waived.

          Civ.R. 13(A) “requires all existing claims between opposing parties that arise out of the

same transaction or occurrence to be litigated in a single lawsuit, regardless of which party initiates

the lawsuit.” Rettig Enters., Inc. v. Koehler, 68 Ohio St. 3d 274, 1994-Ohio-127, 626 N.E.2d 99,

102 (1994). “Ohio courts apply a two-prong test to determine whether Rule 13(A) bars a claim:

(1) did the claim exist when the pleading was served in the prior case and (2) does the claim arise

out of the transaction or occurrence that is the subject matter of the opposing claim?” Hutchinson,

773 Fed. Appx. at 291.


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         Without question, Plaintiffs’ claims here are logically related to the State Court Cases, and

not just because Plaintiffs first initiated the State Court Cases nearly three (3) years ago. Similar

to the claims at issue in Hutchinson, because Plaintiffs first asserted their claims in the State Court

Cases nearly three (3) years ago, “there is no question that they existed” when certain Movants

asserted their counterclaims in the State Court Cases. See id. Indeed, “[i]t makes no

difference…that the opposing claim in the earlier action was a counterclaim rather than a complaint

or that the present claim was originally filed as a complaint in the earlier action and dismissed

without prejudice after the defendant filed its counterclaim,” which is precisely what occurred

here. Rettig, 626 N.E.2d at 102.

         As to the second prong, a cursory review of the State Court Cases reveals that: (i) the First

State Court Case, brought by ABO, D. Mody, Zuk, and RSN Finance, is related to the purported

JV Fraud, of which the purported Nadam and Bavaria MF Frauds are mere offshoots and all the

related claims here are brought by ABO, Adam, D. Mody, Zuk, Zuk Marble, and RSN Finance;

(ii) the Second State Court Case is related to the purported Loan Fraud and BAO and Adam assert

claims for these alleged acts; and (iii) the Third State Court Case is related to the purported

Property Fraud, for which Shnizel has asserted claims. “To determine whether claims arise out of

the same transaction or occurrence, Ohio courts ask whether claims are ‘logically related’—that

is, whether ‘separate trials on each of the respective claims would involve a substantial duplication

of effort and time by the parties and the courts.’” Hutchinson, 773 Fed. Appx. at 290 (quoting

Rettig, 626 N.E.2d at 103); see also Great Lakes Rubber Corp. v. Herbert Cooper Co., 286 F.2d

631, 634 (3d Cir. 1961) (elaborating that claims are compulsory counterclaims where the claims

“involve many of the same factual issues, or the same factual and legal issues, or where they are

offshoots of the same basic controversy between the parties.”).



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         Here, all of Plaintiffs claims arise from the business relationship that began in 2017

between the Investors, Adam, the Nakhles, and Gutzky. Shnizel’s purported Property Fraud serves

as the foundation for Plaintiffs’ other claims—without the initial voluntary and willing transfers

and assignments by the Investors, no real estate deals between Plaintiffs and Movants would have

come to fruition. Meanwhile, the purported Loan Fraud is intricately interwoven amongst the

voluntary and willing real estate transactions of Adam, ABO, BAO, and the Investors, and certain

of those transactions serve as the basis for the purported JV, Nadam, and Bavaria MF Frauds.

         The same is true in the State Court Cases, where all but one affiliated Plaintiff initiated the

respective State Court Cases in 2020 and 2021. The State Court Cases stem from Movants and

Plaintiffs’ business relationship, and those Plaintiffs initiated the State Court Cases as a result of

the purported Property, Loan, and JV Frauds, of which the purported Nadam and Bavaria MF

Frauds are offshoots.

         Beyond the factual overlap, which could result in multiple jurors hearing the same sets of

facts multiple times, the legality of the Movants and Plaintiffs’ relationships and transactions are

at issue in both the State Court Cases and the matter sub judice. For example, in addressing the

same transactions and occurrences, the CCCCP and this Court would need to separately determine

not only if Plaintiffs were defrauded but also the titles to the Properties, which could result in

inconsistent rulings by the separate forums. To this end, not only did the CCCCP recognized the

commonality of both the legal and factual issues amongst the parties to consolidate the State Court

Cases, but this District already acknowledged the same and dismissed claims related to the same

set of transactions and occurrences without prejudice.

              2. Plaintiffs’ claims are logically related to the State Court Cases.

         “Ohio courts have consistently found Rule 13(A) preclusion where parties’ later-brought



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claims are offshoots of the same basic controversy involving a business relationship.” Hutchinson,

772 Fed. Appx. at 292 (citing Grill v. Artistic Renovations, 2018-Ohio-747, ¶¶ 27-28, 106 N.E.3d

934, 941 (8th Dist.) (finding commonality amongst homeowner and general contractor as all

claims were based on “the construction/remodeling contract”); Ferrara v. Vicchiarelli Funeral

Servs., Inc., 2016-Ohio-5144, ¶ 13, 69 N.E.3d 171, 175 (8th Dist.) (finding later-brought tort-based

claims were logically related to earlier-brought contract-based claims as all claims “concerned the

mishandling of the final arrangements of the [deceased].”); Sherman v. Pearson, 110 Ohio App.

3d 70, 673 N.E.2d 643, 646-47 (1st Dist. 1996) (holding that a tenant’s personal injury action

against her former landlord for a fall on a negligently maintained stairway was logically related to

the landlord’s prior forcible entry and detainer action for unpaid rent)). Indeed, even where

“several distinct factual and legal issues” exist but the same basic controversy serves as the bedrock

for the claims—such as the real estate transactions here—Civ.R. 13(A) precludes a plaintiff from

bringing those claims in a separate action. See Rettig, 626 N.E.2d at 103.

         Even more so than the business breakup in Hutchinson, the construction contract in Grill,

the tort and contract claims regarding the funeral arrangements in Ferrara, or the negligence and

eviction actions in Sherman, Plaintiffs’ claims here not only logically relate to the counterclaims

brought and pending in the State Court Cases but also are nearly identical to the claims all but one

Plaintiff initiated in the State Court Cases. Nor are the legal issues here limited to only contract,

tort, or equitable relief, but instead, Plaintiffs bring a kitchen sink full of claims sounded in fraud,

contract, tort, equitable relief, and federal statue,6 which will complicate litigating these issues on

multiple fronts in multiple courts. Simply put, Plaintiffs were compelled to bring the claims of the



6
  It should be noted that the federal courts do not have exclusive jurisdiction over claims under the RICO Act; rather,
the CCCCP is permitted to hear these claims should they be adequately pleaded. See Tafflin v. Levitt, 493 U.S. 455,
459-60.

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Federal Complaint in response to the counterclaims pending in the State Court Cases, each of

which were compulsory, and are now precluded from doing so based upon their failure.

Accordingly, Civ.R. 13(A) requires that the Court dismiss the entirety of Plaintiffs’ claims, with

prejudice.

         C. Plaintiffs Failed to Allege—and Cannot Allege—the Necessary Elements of a
            RICO Act Claim, Which are Subject to a Heightened Standard of Scrutiny.

         To plead the necessary elements of a RICO Act violation under 18 U.S.C. § 1962(c), a

plaintiff must allege: (i) the existence of two or more predicate offenses; (ii) the existence of an

“enterprise;” (iii) a nexus between the pattern of racketeering and the enterprise; and (iv) an injury

to business or property as a result of the alleged racketeering activity. See VanDenBroeck v.

CommonPoint Mortg. Co., 210 F.3d 696, 699 (6th Cir. 2000); Kovach v. Access Midstream

Partners, L.P., Case No. 5:15-cv-616, 2016 U.S. Dist. LEXIS 37882 at *15 (N.D. Ohio Mar. 23,

2016); see also Sivak v. United Parcel Serv. Co., 28 F. Supp. 3d 701, 719 (E.D. Mich. 2014)

(articulating the elements as “‘(1) conduct (2) of an enterprise (3) through a pattern (4) of

racketeering activity.”). In addition to the foregoing, Plaintiffs must satisfy the heightened

particularity requirements of Federal Rule of Civil Procedure 9(b) with respect to the elements of

mail or wire fraud as underlying elements of Plaintiffs’ RICO Act claim. See Kovach, 2016 U.S.

Dist. LEXIS 37882 at *15. “This includes alleging the ‘time, place, and content’ of the fraudulent

acts, the existence of a fraudulent scheme, the intent of the participants in the scheme, and ‘the

injury resulting from the fraud,’” in addition to the other elements of a RICO Act claim. Jackson

v. Segwick Claims Mgmt. Serves, Inc., 699 F.3d 466, 475 (6th Cir. 2012); see Bender v. Southland

Corp., 749 F.2d 1205, 1216 (6th Cir. 1984) (upholding district court’s dismissal of RICO claims

where the complaint failed to plead fraud with adequate particularity).




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         Here, Plaintiffs merely plead in generalities, which is insufficient to meet the stringent

pleading requirements imposed on a RICO Act plaintiff. In particular, Plaintiffs did not point to

any specific time, place, or content of any mailing or internet or telephone communication to

constitute mail or wire fraud. Plaintiffs also cannot put forth anything more than conclusory

statements regarding the alleged scheme to commit the purported mail or wire fraud. Plaintiffs are

further unable to allege the existence of a continuing enterprise that intended to defraud. Despite

Plaintiffs’ hopes of bringing Federal causes of action, Plaintiffs’ claims amount to nothing more

than general accusations, which Fed. R. Civ. P. 9(b) aims to prevent.

              1. Plaintiffs cannot show mail or wire fraud occurred.

         As the necessary predicate to support their RICO Act claim, Plaintiffs allege mail and wire

fraud.7 “Mail fraud consists of (1) a scheme to defraud, and (2) use of the mails in furtherance of

the scheme. The elements of wire fraud are essentially the same except that one must use the wires

in furtherance of the scheme to defraud.” Kovach, 2016 U.S. Dist. LEXIS 37882 at *25 (internal

citations omitted). Plaintiffs must also allege intent to “establish a scheme to defraud, which is

satisfied by showing the defendant acted either with a specific intent to defraud or with

recklessness with respect to potentially misleading information.” Sivak, 28 F. Supp. 3d at 720

(citing United States v. DeSantis, 134 F.3d 760, 764 (6th Cir. 1998)).

                  a. Plaintiffs’ conclusory statements do not establish that a scheme exists.8

         “A scheme to defraud includes any plan or course of action by which someone uses false,

deceptive, or fraudulent pretenses, representations, or promises to deprive someone else of


7
  Throughout the Complaint, Plaintiffs also allude to “bank fraud,” but Plaintiffs lack standing to allege bank fraud as
a predicate act. See Herrick v. Liberty League Int’l, Case No. 1:07-cv-936, 2008 U.S. Dist. LEXIS 42527, at *11 (S.D.
Ohio May 28, 2008); see also Ward v. Nierlich, Case No. 99-14227-CIV, 2008 U.S. Dist. LEXIS 24860 (S.D. Fla.
Mar. 28, 2008); Honorable v. Easy Life Real Estate System, Inc., 182 F.R.D. 55, 563 (N.D. Ill. 1998).
8
  To the extent that any scheme could be said to exist among Movants, the scheme did not further the purported fraud
tranches. Rather, Movants used communications channels to memorialize the many transactions at issue and not to
conduct actual fraud, which Plaintiffs point to after the fact.

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money.” Jamieson, 427 F.3d at 402 (citation omitted). With respect to the alleged

misrepresentations, Rule 9(b)'s heightened pleading requirements are met where the plaintiff is

able to “(1) specify the statements that the plaintiff contends were fraudulent, (2) identify the

speaker, (3) state where and when the statements were made, and (4) explain why the statements

were fraudulent.” Frank v. Dana Corp., 547 F.3d 564, 570 (6th Cir. 2008) (further quotation marks

and citation omitted).

         Plaintiffs make no attempt whatsoever to point to specific statements and instead rely on

after-the-fact circumstances to infer a scheme by Movants. To this end, there is no explanation by

Plaintiffs as to how the statements were fraudulent at the time they were made. Indeed, in the

purported Loan Fraud, Plaintiffs admit that George Nakhle and RSN I fulfilled initial obligations.

Compl. at ¶¶ 200-05. With the purported JV Fraud, ABO never funded RSN Finance, and ABO’s

failures to do so relieved RSN Properties of its funding obligations. Id. at ¶ 156. Meanwhile, the

agreement between Adam and George Nakhle to instead use the Land Contracts’ proceeds to fund

RSN Finance explains additional allegations under the purported JV Fraud tranche. Id. at ¶159.

Throughout all times depicted in the Federal Complaint, Plaintiffs and their purported assignors

acted willfully and consciously, entering into transactions with Movants even after issues arose,

including assigning the Land Contracts to Movants, who then paid the proceeds therefrom to RSN

Finance, which undercuts Plaintiffs’ purported Property Fraud tranche.

                  b. Plaintiffs’ conclusory statements do not establish the necessary scienter
                     requirement.

         Despite the crucial requirement of scienter to support their RICO Act claims, Plaintiffs

again plead in general, conclusory statements without providing any specific acts on behalf of

Movants to demonstrate intent. Plaintiffs must allege intent to “establish a scheme to defraud,

which is satisfied by showing the defendant acted either with a specific intent to defraud or with


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recklessness with respect to potentially misleading information.” Sivak, 28 F. Supp. 3d at 720

(citing United States v. DeSantis, 134 F.3d 760, 764 (6th Cir. 1998)). For example, Plaintiffs state

that the Property LOA, Land Contracts, Lot One Supplemental Agreement, and Lot Two

Supplemental Agreement were executed “in each case with no intention of performing on their

obligations under those agreements,” but Plaintiffs do not allege any specific acts of Movants that

would demonstrate the Movants actual intent at execution. Compl. at ¶ 315. Instead, Plaintiffs

merely point to events occurring after the fact. In another instance related to the purported Property

Fraud, Plaintiffs offer the conclusion that Movants had “no intentions of paying the full purchases

prices and deferred rents,” without offering anything more. Compl. at ¶ 251. Likewise, Plaintiffs

put forth a single, conclusory statements as to recklessness. Compl. at ¶ 100.

         Throughout the Complaint are mere generalities as to Movants purported intent. Indeed,

Plaintiffs do not allege any set of facts that demonstrates the actual intent of the Movants and

instead rely on circumstances occurring after the fact. Accordingly, Plaintiffs have failed to plead

the requisite element of scienter, and the Court should dismiss Plaintiffs’ RICO Act claim.

              2. Plaintiffs failed to allege the necessary elements to demonstrate an enterprise.

         Where an association-in-fact enterprise is alleged, such as here, which consists of both

individuals and entities, “the complaint must set forth three structural features: ‘a purpose,

relationships among those associated with the enterprise, and longevity sufficient to permit these

associates to pursue the enterprise's purpose.'" Ouwinga v. Benistar 419 Plan Servs., Inc., 694 F.3d

783, 794 (6th Cir. 2012) (quoting Boyle v. United States, 556 U.S. 938, 946, (2009)). “‘Put another

way, a plaintiff must show 'simply a continuing unit that functions with a common purpose.’” Id.

(quoting Boyle, 556 U.S. at 948).

         As Plaintiffs tacitly admit through their allegations, no continuing unit exists to constitute



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an enterprise. George Nakhle and his entities and Adam and his entities broke away from not only

the common entities but also Gutzky and the Investors to create the entities used in the purported

JV, Nadam, and Bavaria Frauds. See Compl. at ¶¶ 119-123, 203-05, 90-102. Indeed, George

Nakhle and Adam’s side dealings sever the allegations, especially when considering the

involvement of Zuk, Zuk Marble, and D. Mody in RSN Finance. Id. at ¶¶ 86-89, 118-21. Even

further, the purported Property Fraud was, as Plaintiffs allege, between the Investors and Movants.

Id. at ¶¶ 64-70. Accordingly, the Federal Complaint fails to state with particularity that an actual

enterprise exists. As a result, the Court should dismiss the RICO Act claim, which then requires

dismissal of the remaining claims for lack of supplemental subject matter jurisdiction under 28

U.S.C. § 1367.

         D. Like Plaintiffs’ RICO Act Claim, Plaintiffs Cannot Meet the Heightened
            Pleading Requirements for Their Fraud Claims.
         Just as with Plaintiffs’ RICO Act claim, the Court should dismiss Plaintiffs’ claims for

fraud against Movants. Under Fed. R. Civ. P. 9(b), “in all averments of fraud…the circumstances

constituting fraud…shall be stated with particularity.” Fed. R. Civ. P. 9(b)(emphasis added). At

minimum, a plaintiff “must allege the time, place, and content of the alleged misrepresentation on

which the plaintiff relied; the fraudulent scheme, the fraudulent intent of the defendants; and the

injury resulting from the fraud.” United States ex rel. Elliott v. Brickman Grp., Ltd., LLC, Case

No. 1:10-cv-392, 2011 U.S. Dist. LEXIS 165842, at *12 (Aug. 25, 2011 (S.D. Ohio) (citing U.S.

ex rel. Marlar v. BWXT Y-12, LLC, 525 F.3d 439, 444-455 (6th Cir. 2008)). “An allegation of

fraud requires heightened pleading because it naturally presents ‘a high risk of abusive

litigation.’”9 Ross v. PennyMac Loan Serves. LLC, 761 Fed. Appx. 491, 495 (6th Cir. 2019)


9
 As described above, the Counterclaims include a claim for abuse of process as Counterclaimants have alleged that
Plaintiffs are intending to use the legal system, especially by bringing claims for fraud, to delay and impede
Movants’ refinancing.

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((emphasis added) citing Republic Bank & Trust Co. v. Bear Stearns & Co., 683 F.3d 239, 247

(6th Cir. 2012)). To survive a motion to dismiss fraud claims, the plaintiff must put a defendant

on fair notice by pleading facts such as “the nature of the allegedly fraudulent statements, how

[defendant] had knowledge of the alleged falsity, who made the allegedly false statements on

[defendant]’s behalf, where the allegedly false statements were made, or when the allegedly false

statements were made.” Ross, 761 Fed. Appx. at 495.

         Here, similar to Plaintiffs’ RICO Act claim, Plaintiffs make no attempt to describe the

“who, what, when, where, and why” of their claims. Particularly, Plaintiffs do not and cannot

allege how Movants had knowledge of the purported falsity of their statements as Movants always

intended to consummate the real estate transactions at issue, which is notably evidenced by

Movants initial payments of the Third Loan and absolution of RSN Properties as a result of ABO’s

failures to fund RSN Finance. See, e.g., Compl. at ¶¶156, 201-05. Indeed, Plaintiffs plead that

Movants committed fraud by asserting that Movants committed fraud, which is fatal to Plaintiffs’

fraud claim. See Ross, 761 Fed. Appx. at 495 (stating that “[w]ithout [Plaintiff]’s extrinsic

evidence, we are left with the conclusory statement that [Defendant] knowingly and falsely

represented and/or specifically withheld information…Essentially, [Plaintiff] pleads that

[Defendant] committed fraud by asserting that [Defendant] committed fraud.”). Similar to Ross,

Plaintiffs willingly, voluntarily, and consciously negotiated and entered into the real estate

agreements at issue which is fatal to Plaintiffs’ fraud claims. See id. (“[T]he complaint indicates

that [Plaintiff] and [Defendant] negotiated an arms-length contract. Therefore, the constructive

fraud allegation must also fail.”). Accordingly, the Court should dismiss Plaintiffs’ claims against

Movants for fraud as a result of Plaintiffs’ failures to plead with particularity, demonstrating

Plaintiffs’ abusive litigation herein, as required under Fed. R. Civ. P. 9(b).



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              E. Piercing the corporate veil and the faithless servant doctrine are theories of
                 liability—not standalone claims under Ohio law.
         With Counts XI, XV, and XXXVII, Plaintiffs conflate theories of liability and recovery

with actual, recognized claims under Ohio law. In Ohio, piercing the corporate veil is a mode of

recovery not an actionable claim. See Dana Partners, LLC v. Koivisto Constructors & Erectors,

Inc., 11th Dist. Trumbull, Case No. 2011-T-0029, 2012-Ohio-6294, ¶ 58; Advantage Bank v.

Waldo Pub., LLC, 3d Dist. Marion, Case No. 9-08-67, 2009-Ohio-2816, ¶ 42; Hitachi Med. Sys.

Am., Inc. v. Branch, Case No. 5:09-cv-1575, 2011 U.S. Dist. LEXIS 111907, at fn 1 (N.D. Ohio

May 13, 2011); see also Hodak v. Madison Capital Mgmt., 348 F. App’x 83, 94-95 (6th Cir. 2009)

(noting that under Kentucky law, “the doctrine of piercing the corporate veil is recognized as being

an equitable remedy, not a cause of action unto itself, which is used as a means of imposing

liability.”); In re RCS Engineered Prods., Co., 102 F.3d 223, 226 (6th Cir. 1996) (noting that under

Michigan law, “an alter ego claim is not by itself a cause of action). Accordingly, Count XXXVII

of the Complaint must be dismissed.

         Likewise, the faithless servant doctrine is a theory of imposing liability rather than a

standalone claim. See Perdew v. Process Div., Inc., C.P. Franklin, Case No. 12CV11033, 2013

Ohio Misc. LEXIS 10822, at *6-8 (Feb. 21, 2013) (merging the faithless servant doctrine with a

claim for tortious interference to constitute one claim); Cheryl & Co. v. Krueger, 536 F. Supp. 3d

182, 212-13 (S.D. Ohio Apr. 28, 2021) (recognizing the faithless servant doctrine as a subset of a

claim for the breach of the duty of loyalty related to an employee). Notably here, Plaintiffs make

no allegations that amount to George Nakhle as an employee of RSN Finance or any other entity.

Rather, George Nakhle—as Plaintiffs state—was a manager and/or member of the entities. See,

e.g, Compl. at ¶ 89. Therefore, Plaintiffs’ faithless servant doctrine theory is subsumed by claims

for breaches of fiduciary duty, which, further militates in support of dismissal.


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          F. Plaintiffs Lack Standing to Bring a Derivative Action or Claims as Assignees.

          As pointed out by Lieberman, Fed. R. Civ. P. 23.1 requires that a derivative plaintiff verify

the complaint. See ECF # 60-4; Fed. R. Civ. P. 23.1. Plaintiffs did nothing of the sort here. In

addition, Plaintiffs provide no support for the legal conclusion that Shnizel and Adam have

authority to bring claims on behalf of the Investors or Bavaria. “Generally speaking, standing is

[a] party’s right to make a legal claim or seek judicial enforcement of a duty or right.” Wells Fargo

Bank, N.A. v. Horn, 142 Ohio St. 3d 416, 2015-Ohio-1484, ¶ 8. And, in order to have standing, the

party bringing the claim “must demonstrate an immediate, pecuniary interest in the subject matter

of the litigation.” Landmark Nat’l II Corp. v. Green, 7th Dist. Mahoning, Case No. 16 MA 0072,

2017-Ohio-7706, ¶14 (Sept. 11, 2017) (citing In re Estate of Horton, 9th Dist. Summit, Case Nos.

20695, 20741, 2002-Ohio-1377. Indeed, when an assignee brings a claim, “the assignee ‘must

allege and prove the assignment.’” Landmark, 2017-Ohio-7706, ¶ 14 (quoting Hudson & Keyse,

LLC v. Yarnevic-Rudolph, 7th Dist. Jefferson, Case No. 09 JE 4, 2010-Ohio-5938 (Nov. 29, 2010)

and Zwick & Zwick v. Suburban Constr. Co., 103 Ohio App. 83, 84 (8th Dist. 1956)) (emphasis

added). Once again, Plaintiffs, particularly Shnizel and Adam, make nothing more than a

conclusory statement that they are the assignees of the Investors and Bavaria. Without anything

further to verify these statements at this stage, Movants may be exposed to potential multiple

judgments or the Investors and Bavaria may be precluded from bringing claims in the future.

    IV.       CONCLUSION.
          For the foregoing reasons, Movants request that the Court dismiss all claims against

Movants because: (i) Ohio Rule of Civil Procedure 13 precludes Plaintiffs from bringing claims

against Movants; (ii) Plaintiffs fail to allege necessary elements of their claims; (iii) piercing the

corporate veil and the faithless servant doctrine are not standalone claims; and (iv) Plaintiffs did

not attach necessary materials for derivative or assigned claims.

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                                             Respectfully submitted,

                                              KOHRMAN JACKSON & KRANTZ, LLP

                                              /s/ Scott A. Norcross             _
                                              SCOTT A. NORCROSS (0073407)
                                              NATHAN F. STUDENY (0077864)
                                              PAIGE M. RABATIN (0097916)
                                              ANDREA V. ARNOLD (0099455)
                                              One Cleveland Center, 29th Floor
                                              1375 East Ninth Street
                                              Cleveland, Ohio 44114
                                              Phone: (216) 696-8700
                                              Fax: (216) 621-6536
                                              Email: san@kjk.com; nfs@kjk.com; pmr@kjk.com;
                                              ava@kjk.com
                                              Counsel for Movants




                                 CERTIFICATE OF SERVICE

          I hereby certify that on April 12, 2023, a true and accurate copy of the foregoing was

submitted to the Court via the CM/ECF system, which will serve the same upon all counsel of

record.




                                                     /s/ Scott A. Norcross
                                                     Scott A. Norcross (0073407)

                                                     Counsel for Movants




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